Case 0:17-cv-62371-UU Document 30 Entered on FLSD Docket 07/11/2018 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                     Case No. 0:17-cv-62371-UU

 SCHOOL BOARD OF BROWARD COUNTY,
 FLORIDA,

         Plaintiff,
 v.

 C.B. individually and as parent of J.A.B.,
 a minor,

       Defendant.
 ____________________________________/
                              FINAL JUDGEMENT

         Pursuant to Federal Rule of Civil Procedure 58, this Court’s Order on Plaintiff’s Motion

 for Judgment on the Record and Summary Judgment in favor of Plaintiff and for good cause

 shown, it is hereby

         ORDERED AND ADJUDGED that a FINAL JUDGMENT is entered for Plaintiff

 School Board of Broward County Florida and against Defendant C.B. as to:

         (1)           Plaintiff’s claim that Administrative Law Judge Jessica E. Varn lacked
                       jurisdiction to award attorneys’ fees in her Order on Attorneys’ Fees, D.E. 1-
                       2;

         (2)           Defendant’s First and Second Affirmative Defenses, D.E. 6;


         (3)           Defendant’s First and Second Counterclaims, D.E. 6; 1

         DONE AND ORDERED in Chambers at Miami, Florida, this _10th_ day of July, 2018.

                                                               _________________________________
                                                               URSULA UNGARO
                                                               UNITED STATES DISTRICT JUDGE
 cc: Counsel of Record

 1
    As the Court noted in its Order on Plaintiff’s Motion for Judgment on the Record and Motion for Summary
 Judgment, although judgment is being entered on Defendant’s Second Counterclaim for attorneys’ fees for failure to
 file an appropriate motion, Defendant is still entitled to file a separate action for attorneys’ fees pursuant to 20
 U.S.C. § 1415(i)(3)(B).
Case 0:17-cv-62371-UU Document 30 Entered on FLSD Docket 07/11/2018 Page 2 of 2
